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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06MJ3004
           v.                       )
                                    )
JAIME L. ESQUIVEL,                  )
RICARDO ESQUIVEL JR. and            )                    ORDER
RUBEN D. NUNEZ,                     )
                                    )
                Defendants.         )
                                    )




     In accordance with the announcement of my findings from the
bench,

     IT IS ORDERED:

     1. Probable cause is found with respect to each defendant
that the charged offense occurred and that they are the persons
who committed it. The defendants shall be held until the matter
has been presented to a grand jury in this district.

     2. Defendant Nunez, having been ordered released on the
posting of a bond, is ordered to appear February 16, 2006 at
10:30 a.m. in Courtroom 2.

     3. Defendant Ricardo Esquivel Jr.’s request to reopen the
hearing following counsel’s examination of discovery materials
not available during the hearing is granted. Once the
examination has been completed, Mr. Esquivel Jr.’s counsel shall
inform the office of the undersigned whether or not he intends to
request the reopening of the hearing.

     4. The detention hearing on Ricardo Esquivel Jr. is
continued until February 16, 2006 at 10:30 a.m. at the
defendant’‘s request and this defendant shall continue in the
custody of the United States Marshal pursuant to the previous
temporary order of detention.
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     Further hearing, if necessary is tentatively scheduled to
commence at 10:30 a.m. February 16, 2006 in Courtroom 2.


     DATED this 2nd day of February, 2006.

                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
